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11                         UNITED STATES DISTRICT COURT
12                       CENTRAL DISTRICT OF CALIFORNIA
13
     SHAWN ADLER AND GAVIN              Civil Case No.: 2:21-cv-02416
14   MCDONOUGH on behalf of themselves
15   and all others similarly situated, CLASS ACTION COMPLAINT
16                 Plaintiffs,              (1)   VIOLATIONS OF THE
17   v.                                           TCPA, 47 U.S.C. §
18                                                227(b)(1)(A)(iii)
     COMMUNITY.COM, INC.,                   (2)   VIOLATIONS OF THE
19                                                TCPA, 47 U.S.C. § 227(c)
                   Defendant.
20
                                            DEMAND FOR JURY TRIAL
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                                 CLASS ACTION COMPLAINT
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